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                  IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION



IN RE: EAST PALESTINE TRAIN DERAILMENT

STEVEN MCKAY, SUSAN SCHEUFELE, KAYLA
BAKER, NEELY JACK, DAWN BAUGHMAN,
DAVID ANDERSON, JAMES ROSS, JON LUKE
AFFELTRANGER, ROSEMARY MOZUCH,
CHARLES MOZUCH, GREGORY SWAN, LANCE
BECK, CLARISSA COHAN, ROLLERENA AUTO
SALES LLC, HAROLD FEEZLE, DALQAN
HOLDINGS, LLC, VALLEY VIEW MPH LLC,
                                                   Case No. 4:23-CV-00242-BYP
COMPETITION & LUXURY VEHICLE CLUB OF
HARLINGTON, LLC, individually and on behalf of all JUDGE BENITA Y. PEARSON
others similarly situated,
                                                   THIRD-PARTY COMPLAINT
               Plaintiffs,                         JURY TRIAL DEMANDED
      v.

NORFOLK SOUTHERN CORPORATION and
NORFOLK SOUTHERN RAILWAY COMPANY,

            Defendants/Third-Party Plaintiffs,

      v.

OXY VINYLS LP, GATX CORPORATION,
GENERAL AMERICAN MARKS COMPANY,
TRINITY INDUSTRIES LEASING COMPANY,

            Third-Party Defendants.


           NORFOLK SOUTHERN RAILWAY COMPANY AND
    NORFOLK SOUTHERN CORPORATION’S THIRD-PARTY COMPLAINT
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       Pursuant to Rule 14(a) of the Federal Rules of Civil Procedure, Defendants Norfolk

Southern Railway Company and Norfolk Southern Corporation (collectively, “Norfolk

Southern”), by their undersigned counsel, for their Third-Party Complaint against Third-Party

Defendants Oxy Vinyls LP, GATX Corporation, General American Marks Company, and

Trinity Industries Leasing Company, allege as follows:

                                      INTRODUCTION

       On the night of February 3, 2023, a Norfolk Southern train, Train 32N, derailed in

East Palestine, Ohio. Norfolk Southern is a common carrier, which means it is required by

federal law to accept and transport innumerable materials, including chemicals that are used

to make everyday products. Train 32N was transporting several railcars containing chemicals,

including five railcars containing vinyl chloride. Vinyl chloride is used to make polyvinyl

chloride, or PVC, one of the most widely produced synthetic plastics, typically found in

clothing, pipes, doors, windows, and residential construction. Norfolk Southern did not

manufacture, load, or own the vinyl chloride and other chemicals that Train 32N was carrying

on February 3, 2023, nor did it manufacture, lease, or own the railcars that contained the

vinyl chloride and other chemicals.

       In the United States, railroads are obligated as common carriers under 49 U.S.C.

§ 11101 to transport hazardous materials, including chemicals. This common-carrier

obligation recognizes the public good of open access to rail transportation, which is the safest

and most fuel-efficient means for the transport of hazardous materials. The responsibility for

safe transport is shared among several interested parties, including the manufacturers of the

railcars and safety devices, the owners and lessees of the railcars, the manufacturers and

shippers of the material being transported, and the railroad. Each interested party along the

way is regulated by a multitude of federal laws, regulations, and industry practices: railcars,

railcar components, and hazardous materials tank cars are federally certified to meet physical




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and safety requirements; specialized shipping procedures are required for chemicals; and

inspections are conducted of the railcars and their safety features, the shipped materials, the

tracks, and devices along the tracks.

       Despite this regulatory scheme and the rail industry’s focus on safety, incidents can

occur. On February 3, 2023, Train 32N included a railcar owned by General American Marks

Company. A bearing on that railcar failed and the car derailed. In turn, several railcars on

Train 32N derailed. Norfolk Southern did not manufacture or own the bearing; did not

manufacture, own, or lease the derailed railcar; and did not manufacture, own, or load the

contents of that railcar. Nonetheless, Norfolk Southern responded to the derailment quickly

and comprehensively, including by working to clean up the released materials, restore local

waterways, and provide millions of dollars in assistance to residents and communities.

Norfolk Southern is committed to being there for East Palestine and the surrounding

communities for the long haul, and nothing in this Third-Party Complaint changes that.

       At the same time, through this Third-Party Complaint, Norfolk Southern seeks to

ensure that all necessary parties are involved. In the rail industry, a host of regulations and

standards govern the design, materials, construction, conversion, and modification of railcars

and their components. Shippers of chemicals are required to comply with handling

procedures and, under federal hazard communications standards, must provide each

transporter of a chemical with safety information. Compliance with these regulations and

standards governing railcar equipment, compatibility with the lading, and safe handling are a

centerpiece of safe railroad transportation. As set forth below, Third-Party Defendants failed

to comply with their obligations, and in bringing this Third-Party Complaint, Norfolk

Southern seeks only what is appropriate under the law.




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                                 OVERVIEW OF CLAIMS

       1.      Throughout the legal process following the East Palestine train derailment,

Norfolk Southern has committed to making things right in the greater East Palestine area.

Norfolk Southern has taken significant steps to assist the people of East Palestine and the

surrounding area, including by providing millions of dollars in financial assistance to

residents and communities. Norfolk Southern is committed to establishing long-term funds to

address concerns about health, water quality, and residential property values as part of a final

resolution of claims. Norfolk Southern also continues to remediate the derailment site with

oversight by the U.S. Environmental Protection Agency, the Ohio Environmental Protection

Agency, and other federal, state, and local regulatory agencies. Norfolk Southern has

undertaken these steps without any financial assistance from other entities.

       2.      This Third-Party Complaint does not change any of those commitments, but

rather seeks to ensure that those responsible pay what is appropriate under the law.

       3.      Thus, Norfolk Southern brings this Third-Party Complaint for damages under

Ohio law for the negligence of Third-Party Defendants that failed to follow federal

regulations, rules, and standards governing the compliance and certification of hazardous

materials tank cars, failed to ensure that shipping equipment was compatible with the lading,

failed to provide accurate hazardous communication information, and/or failed to properly

maintain railcars and equipment.

                                       THE PARTIES

       4.      Third-Party Plaintiff Norfolk Southern Railway Company, a Virginia

company, is a subsidiary and principal operating company of Norfolk Southern Corporation.

Norfolk Southern Railway Company conducted railroad operations in East Palestine, Ohio,

on February 3, 2023.




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         5.       Third-Party Plaintiff Norfolk Southern Corporation, a Virginia corporation, is

the parent of Norfolk Southern Railway Company.

         6.       Third-Party Defendant Oxy Vinyls LP (“Oxy Vinyls”), a Delaware limited

partnership, was at all relevant times the owner of railcars OCPX80235 (“Car 27”1),

OCPX80179 (“Car 28”), and OCPX80370 (“Car 53”), that derailed on February 3, 2023. Oxy

Vinyls, shipping from its La Porte, Texas, facility, was additionally at all relevant times the

shipper of TILX402025 (“Car 26”), Car 27, Car 28, GATX95098 (“Car 29”), and Car 53, all

of which derailed on February 3, 2023.

         7.       Third-Party Defendant GATX Corporation, a New York corporation, was at

all relevant times the owner of Car 29.

         8.       Third-Party Defendant Trinity Industries Leasing Company, a Delaware

company and subsidiary of Trinity Industries Corporation, was at all relevant times the owner

of Car 26.

         9.       Third-Party Defendant General American Marks Company, a subsidiary of

GATX Corporation, a Delaware Corporation, was at all relevant times the owner of railcar

GPLX75465 (“Car 23”) that derailed on February 3, 2023.

                                             JURISDICTION

         10.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1367.

                                                   VENUE

         11.      Venue is proper in the Northern District of Ohio pursuant to 28 U.S.C.

§ 1391(b), because a substantial part of the events giving rise to Norfolk Southern’s claims

occurred in the Northern District of Ohio. Additionally, this Third-Party Complaint is brought

in an action already pending before this Court.



1
          The car numbers used in this Third-Party Complaint refer to each railcar’s position among the train’s
149 railcars, which followed the two head-end locomotives. For example, Car 1 would refer to the train’s first
railcar, which would have been in the third position in the train overall.


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                                 FACTUAL ALLEGATIONS

A.       Railroad Transportation and Common Carrier Obligations

         12.   Railroads are one of multiple links in the chain of production, transportation,

distribution, and consumption that connects American businesses and industries to the global

economy.

         13.   As common carriers, railroads have a statutory duty to provide “transportation

or service on reasonable request” to all shippers. 49 U.S.C. § 11101(a). Railroads may not

refuse to provide service because doing so would be inconvenient, unprofitable, or potentially

risky.

         14.   This common-carrier obligation also imposes a duty on railroads to transport

hazardous materials, even when a railroad might prefer not to do so. Under this obligation,

railroads have been charged with the safe transportation of materials such as crude oil, spent

nuclear fuel, and a range of chemicals, among other hazardous materials.

         15.   Railroads take the common-carrier obligation seriously and are the nation’s

most trusted transporter of hazardous materials. Incident rates stemming from the transport of

hazardous materials by rail are at an all-time low, and more than 99.9% of hazardous

materials reach their destination without incident. The railroad industry’s accident rate is far

lower than the accident rate for trucking—according to studies, trucks carrying hazardous

materials are involved in nearly ten times the rate of fatal accidents. In addition, transport by

rail has a lower environmental impact than trucking. Trains are four times more efficient than

trucks and are able to move one ton of freight more than 470 miles on one gallon of diesel

fuel.

         16.   While railroads are the primary face of hazardous materials transportation,

they are only one of many regulated steps in the transportation process. Generally, railroads




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are responsible for train movement and track maintenance, but rely considerably on other

entities for the safe transportation and delivery of hazardous goods.

          17.   For example, railroads—like Norfolk Southern here—typically do not own

tank cars that carry hazardous materials. Rather, they rely on tank car manufacturers and

owners to ensure tank cars are compliant with federal laws and regulations, national and

industry standards, and are capable of safely moving hazardous materials. See generally 49

C.F.R. part 180.

          18.   Additionally, railroads rely on shippers for the safe loading, packaging, and

inspection of hazardous goods. Shippers ensure, and certify to railroads pursuant to federal

regulations, that hazardous materials are properly classified as hazardous, loaded into tank

cars following specific steps, securely closed, labeled with a placard for outward hazardous

identification, and shipped with proper identification and safety materials for the railroad and

potential first responders to rely on. See generally 49 C.F.R. part 173.

          19.   When a tank car carrying hazardous materials is presented to a railroad for

shipment, the railroad is responsible for collecting shippers’ certifications and other shipping

papers, conducting a limited visual inspection of the tank car from the ground, and

transporting the hazardous materials in a safe and expeditious manner. See generally 49

C.F.R. part 174.

          20.   However, railroads are limited in their ability to conduct a detailed inspection

or take other action. They cannot, for example, test or certify a tank car’s safety-related

mechanical functions—as car owners must do under 49 C.F.R. § 180.509 and other

provisions—or load the hazardous materials to ensure proper stability and pressure for

shipment—as chemical shippers must do under 49 C.F.R. § 173.22. It is the shipper that has

the primary obligation to ensure that the railcar and equipment used are compatible with the

lading.




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       21.     Ultimately, the safe transportation of hazardous materials depends on the care

of each and every company involved in shipment. When accidents occur, as they did on

February 3, 2023, each interested party is responsible for doing its part to address the impact.

B.     The Fort Wayne Rail Line

       22.     Norfolk Southern operates a Class I freight railroad that connects twenty-two

states and the District of Columbia across the eastern United States.

       23.     From its headquarters in Atlanta, Georgia, Norfolk Southern manages

operations for more than 19,000 route miles. It is the largest intermodal network in the

eastern United States.

       24.     The Fort Wayne rail line traces back to the 1850s, when it was built to connect

Chicago, Illinois to Pittsburgh, Pennsylvania. The line runs from southwest to northeast

across Indiana, then east and southeast across Ohio to Pittsburgh.

       25.     Before crossing the border into Pennsylvania, the line runs through East

Palestine, Ohio, at approximately milepost fifty.

       26.     East Palestine is a village in Columbiana County near the Pennsylvania

border, approximately twenty miles north of the Ohio River border separating Ohio from

West Virginia. East Palestine was founded in 1828. Today, it is home to roughly 4,700

residents.

C.     The February 3, 2023, Derailment

       27.     On February 3, 2023, Train 32N, a Norfolk Southern Railway general

merchandise freight train, was traveling eastbound on the Fort Wayne Line of the Keystone

Division through northeast Ohio.

       28.     Train 32N was comprised of 2 head-end locomotives, 149 railcars, and 1

distributed power locomotive that was positioned between the 111th and 112th railcars.




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       29.     The train was assembled in Madison, Illinois, and was destined for Conway,

Pennsylvania. On February 1, 2023, in Madison, a qualified mechanical inspector conducted

a mechanical inspection and air brake test.

       30.     One of Train 32N’s cars was Car 23, a hopper car owned by General

American Marks Corporation that was carrying polyethylene (plastic) pellets.

       31.     Car 23 was received by Norfolk Southern at the interchange in the Terminal

Railroad Association (“TRRA”) of St. Louis yard in Madison and transferred by Alston &

Southern Railway, a subsidiary of Union Pacific Railroad Company. At the TRRA yard,

TRRA employees performed and certified a brake test on Car 23.

       32.     Modern railcars, like Car 23, have roller bearings that transfer the weight of

the car and its lading to the wheels. The bearings allow the axle to rotate under the load,

while minimizing the rotational friction. Bearings are capable of overheating and, though

uncommon, can cause derailments.

       33.     Therefore, Norfolk Southern has equipped its network, including the Fort

Wayne Line, with a hot bearing detector (“HBD”) system. HBDs are devices that assess the

temperature conditions of bearings and provide audible, real-time warnings to train crews and

Norfolk Southern’s Advance Train Control Wayside Help Desk—a twenty-four-hour alert

desk in Atlanta—when bearing temperatures indicate potential overheating.

       34.     HBDs provide alerts and alarms to train crews and the Wayside Help Desk

when bearings report high temperatures above ambient temperature. Per Norfolk Southern’s

protocol in effect on February 3, 2023, if a bearing temperature reading exceeded 200°F

above ambient temperature, a critical alarm would be triggered that required the train crew to

stop the train. Another type of non-critical alarm would be triggered at 170°F above ambient

temperature. And an alert created by Norfolk Southern—called a “953 alert”—would be




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 triggered based on a trending algorithm of train data to alert the Wayside Help Desk that a

 bearing may be overheating.

          35.   Although the Federal Railroad Administration does not require the use of

 HBDs, at the time of the derailment, Norfolk Southern had HBDs spaced at a maximum of

 every forty miles. The average spacing of HBDs across Norfolk Southern’s network is 13.9

 miles.

          36.   On the night of February 3, 2023, Norfolk Southern’s HBD system on the Fort

 Wayne Line was in operation. Train 32N passed three HBDs in northeast Ohio in the thirty

 miles west of East Palestine. Approximately thirty miles before the derailment, near Sebring,

 Ohio, at milepost 79.8, the first of these three HBDs recorded a bearing on Car 23 at 38°F

 above ambient temperature. This temperature was within normal range and did not send any

 alert.

          37.   When the train passed the next HBD about ten miles later outside Salem,

 Ohio, at milepost 69.01, the bearing’s recorded temperature was 103°F above ambient

 temperature, still below the temperature threshold for any alarm. The Salem temperature did

 cause a 953 alert (not an alarm) to be sent to the Wayside Help Desk, but the temperature

 reading did not require any action by the Wayside Help Desk, as it was well below the

 threshold for any alarm.

          38.   At the third HBD in East Palestine at milepost 49.81, the detector recorded a

 temperature of 253°F above ambient temperature, triggering a critical, audible alarm to the

 train crew. At this time, the Norfolk Southern train crew was traveling forty-seven miles per

 hour and already slowing the train because of train traffic ahead on the line. Upon receiving

 the critical alarm, the train engineer increased the brake application to further slow the train

 to a stop.




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        39.     During deceleration of the train, at approximately 8:54 p.m., the overheated

 bearing on Car 23 failed, and the car derailed near milepost 49.5.

        40.     Thirty-eight railcars then also derailed from the main track, including the

 following eight tank cars:

                a.      Car 26, TILX402025, carrying vinyl chloride.

                b.      Car 27, OCPX80235, carrying vinyl chloride.

                c.      Car 28, OCPX80179, carrying vinyl chloride.

                d.      Car 29, GATX95098, carrying vinyl chloride.

                e.      Car 34, SHPX211226, carrying ethylene glycol monobutyl ether.

                f.      Car 36, DOWX73168, carrying 2-ethyl hexyl acrylate.

                g.      Car 48, UTLX205907, carrying butyl acrylates.

                h.      Car 53, OCPX80370, carrying vinyl chloride.

        41.     Cars 26, 27, 28, 29, and 53, among others, were subsequently involved in pool

 fires that lasted until on or about February 6, 2023.

 D.     The Derailed Tank Cars

        42.     Three tank cars carrying chemicals—Cars 34, 36, and 48 (the non-vinyl

 chloride cars)—were breached in the derailment:

                a.      Car 34 was breached, with damage to the B-end top head of the tank,

                        and its bottom outlet valve fully opened. Car 34 released its load of

                        roughly 25,000 gallons of ethylene glycol monobutyl ether.

                b.      Car 36 had cracks to the B-end top head and B-end bottom head of the

                        tank, and the A-end bottom head was punctured. Car 36 released part

                        of the roughly 29,000 gallons of 2-ethyl hexyl acrylate in its load.




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                c.      Car 48’s A-end bottom head was punctured, and its manway gaskets

                        burned away. Car 48 released its load of roughly 30,000 gallons of

                        butyl acrylates.

        43.     Cars 34, 36, and 48 were all DOT-111 tank cars.

        44.     The DOT-111 is an unpressurized general-service tank car with a gross load

 weight of approximately 286,000 pounds and a capacity of 30,000 or less gallons.

        45.     Though one of the most common general-service tank cars, the DOT-111 tank

 car is a legacy car and subject to a federal phase-out for use transporting flammable liquids.

 The potential replacement, the DOT-117J, features a thicker tank shell, thermal protection

 system, and additional features.

        46.     Five derailed tank cars were DOT-105J300W specification tank cars carrying

 vinyl chloride (also referred to as “vinyl chloride monomer” or “VCM”), a chemical that is

 transported as a compressed liquified gas.

        47.     These five tank cars were Cars 26, 27, 28, 29, and 53.

                a.      Car 26 was owned by Trinity Industries Leasing Company and shipped

                        by Oxy Vinyls.

                b.      Cars 27, 28, and 53 were owned and shipped by Oxy Vinyls.

                c.      Car 29 was owned by GATX Corporation and shipped by Oxy Vinyls.

        48.     The DOT-105J300W is a standardized tank car with a gross rail load of

 263,000 pounds and full water capacity of between 23,570 and 25,742 gallons. By federal

 regulation, DOT-105 pressure tank cars must have a minimum plate thickness, plate materials

 that comply with minimum tensile strength, approved venting, loading, and unloading valves,

 and must be tested in compliance with federal testing procedures. See 49 C.F.R. Subpart C,

 § 179.100 et seq.




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         49.    The five DOT-105J300W tank cars carrying vinyl chloride were manufactured

 by Trinity Tank Car, Incorporated.

         50.    All five tank cars were “fully loaded,” carrying approximately 178,000 pounds

 of vinyl chloride each.

         51.    Tank cars carrying pressurized gases are typically outfitted with a reclosing

 pressure relief device (“PRD”), which is designed to activate automatically to relieve

 pressure from a tank car when the tank’s contents exceed a pressure threshold.

         52.    Each of the five vinyl chloride tank cars—Cars 26, 27, 28, 29, and 53—were

 equipped with a PRD designed and manufactured by Midland Manufacturing Corporation.

         53.    Tank cars also have a thermal protection system, which consists of a layer of

 insulated fiber between the tank and outer jacket meant to limit the amount of external heat

 transferred to the internal tank contents. Federal performance standards for the thermal

 protection systems aim to protect the internal tank contents from an external pool fire for

 approximately 100 minutes. After this time, heat will reach the internal tank and the PRD will

 activate.

         54.    Each vinyl chloride tank car was also outfitted with protective housing covers.

 Cars 27, 28, and 29 were fitted with protective housing covers made of aluminum, and Cars

 26 and 53 were fitted with protective housing covers made of steel.

 E.      Vinyl Chloride and Polymerization

         55.    Vinyl chloride is a flammable gas, transported in a pressurized liquid state,

 that is used to make PVC, a common synthetic plastic polymer.

         56.    Vinyl chloride must be stabilized for safe transportation to prevent contact

 with reactive agents like oxygen. Chemical shippers typically utilize two methods of

 stabilization: mixing the liquified vinyl chloride with a chemical stabilizer such as phenol;




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 and/or purging the tank car with nitrogen prior to filling the car so the oxygen concentration

 is below 200 parts per million.

        57.     Oxy Vinyls, which shipped the vinyl chloride in Cars 26, 27, 28, 29, and 53,

 utilized oxygen purging to stabilize its vinyl chloride.

        58.     Vinyl chloride is reactive with various external conditions and materials.

 Under prolonged exposure to fire or intense heat, liquefied vinyl chloride turns to vapor and

 expands, which can cause its container to violently rupture and explode. An uncontrolled

 vinyl chloride explosion can result in the release of hydrogen chloride, phosgene, and carbon

 monoxide gases, and the resulting rupture can launch tank shrapnel hundreds of feet or more

 into the surrounding area. This reaction is called a boiling liquid evaporating vapor explosion

 (“BLEVE”).

        59.     In the history of chemical shipping, BLEVE incidents have resulted in

 multiple deaths, mass evacuations, and significant damage to property caused by the violent

 rupture of the tank car.

        60.     Another effect of heating vinyl chloride is polymerization, a chemical reaction

 that turns vinyl chloride into a solid-state polymer. The industry literature on vinyl chloride

 for railroad transportation is nearly uniform in stating that vinyl chloride is capable of

 polymerizing at heightened temperatures caused by fire or radiant heat. See, e.g., The

 Chlorine Institute & The Vinyl Institute, Pamphlet 171, Vinyl Chloride Monomer (VCM)

 Tank Car & Cargo Tank Handling Manual, 4-5 (1st ed. July 2018) (“Exposure to the

 following conditions or mixtures with the following elements and materials can cause

 explosive or violent polymerization of VCM: air, sunlight, excessive heat, oxidizers, catalytic

 metals such as copper and aluminum and their alloys, and certain catalytic impurities.”);

 Richard P. Pohanish, Sittig’s Handbook of Toxic and Hazardous Chemical and Carcinogens,

 2700 (6th ed. 2012) (“Polymerizes in air, sunlight, heat, and on contact with a catalyst, strong




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 oxidizers, and metals, such as aluminum and copper, unless stabilized by inhibitors, such as

 phenol.”).

        61.     Additionally, polymerization can accelerate the risks of a BLEVE by blocking

 pressure release devices that are intended to allow the release of gas pressure when it is

 higher than the tank car is designed to contain.

        62.     Though Oxy Vinyls is now discounting the risk that stabilized vinyl chloride

 can polymerize due to heating alone, the chemical data sheet that Oxy Vinyls provided to

 Norfolk Southern warns of the polymerization and explosion risks of vinyl chloride due to

 excessive heating.

        63.     Chemical manufacturers are required by federal regulation to provide these

 chemical data sheets, called a Safety Data Sheet (“SDS”), for each chemical they make. See

 29 C.F.R. § 1920.1200(g). The SDS must “accurately reflect[] the scientific evidence used in

 making the hazard classification,” and must be continually updated. Id. § 1920.1200(g)(5),

 (6). The SDS must include, among other things, information covering handling and storage,

 accidental release measures, and the chemical’s stability and reactivity, including whether the

 chemical will react or polymerize in various conditions. Id. § 1920.1200(g)(2).

        64.     The vinyl chloride SDS that Oxy Vinyls provided to Norfolk Southern

 described the above risks, noting that vinyl chloride “MAY MASS EXPLODE IN FIRE.

 EXTREMELY FLAMMABLE GAS. CONTAINS GAS UNDER PRESSURE, MAY

 EXPLODE IF HEATED. POLYMERIZATION CAN OCCUR.” See Oxy Vinyls, Vinyl

 Chloride (Monomer) Safety Data Sheet, 2 (Nov. 30, 2020).

        65.     Further, Oxy Vinyls’ SDS warned that vinyl chloride “[r]equires stabilizer to

 prevent potential dangerous polymerization.” Id. The SDS warns about hazardous

 polymerization and notes: “Exposure to the following conditions or mixtures with the

 following elements and materials can cause explosive or violent polymerization of VCM: Air,




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 Sunlight, Excessive heat, Oxidizers, Catalytic metals, such as copper, aluminum and their

 alloys and certain catalytic impurities. Avoid elevated temperatures, oxidizing agents, oxides

 of nitrogen, oxygen, peroxides, other polymerization catalysts/initiators, air and sunlight.” Id.

 at 10 (emphasis added).

         66.     The SDS also warns of incompatible substances, listing “aluminum” and

 “aluminum alloys,” and noting: “Explosive or violent polymerization can occur when

 exposed to air, sunlight, or excessive heat if not properly stabilized. Polymerizes

 exothermically in the presence of light, air, oxygen, or catalyst. Reacts with the following

 incompatible materials and create a strong exothermic reaction: oxygen, moisture,

 polymerization additives, copper, aluminum….” Id.

         67.     In the case of a railcar fire, the SDS warns to “[l]et burn unless leak can be

 stopped immediately.” Id. at 6.

         68.     Oxy Vinyls has acknowledged that its SDS for vinyl chloride contained this

 information.

         69.     The information on vinyl chloride in Oxy Vinyls’ SDS also matches Norfolk

 Southern’s own emergency safety guidance for vinyl chloride, which notes that the chemical

 “[p]olymerizes in air, sunlight, or heat unless stabilized by inhibitors such as phenol”;

 “[r]eacts with copper, aluminum….” Norfolk Southern Corp., Emergency Safety Guide, Vinyl

 Chloride Division 2.1 (Flammable Gas), 1 (Sept. 2006). The guidance also warns that

 exposure of vinyl chloride containers “to fire or heat may result in violent polymerization”

 and that “[e]xcessive heat, light, or air may cause spontaneous violent polymerization

 resulting in container rupture.” Id. at 2.

         70.     Additionally, the U.S. Department of Transportation’s Emergency Response

 Guidebook (“ERG 2020 Guidebook”), which is intended for use by first responders during

 hazardous materials incidents, designates vinyl chloride as a chemical capable of explosively




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 polymerizing when heated or involved in fire. This guidance defines substances as capable

 for polymerization when it “may polymerize violently under high temperature conditions or

 contamination with other products during a transportation incident,” as well as where there is

 a “strong potential for polymerization in the absence of an inhibitor due to depletion of this

 inhibitor caused by accident conditions.” See U.S. Dep’t of Transp., Pipeline and Hazardous

 Materials Safety Admin., 2020 Emergency Response Guidebook, 381 (2020).

         71.     In line with this definition, the bills of lading provided by Oxy Vinyls for each

 of the vinyl chloride shipments state that “substances designated with a (P) may polymerize

 explosively when heated or involved in a fire.” This language is taken directly from and

 references the ERG 2020 Guidebook, which designates “vinyl chloride, stabilized” with a

 “P.” Id. at 31, 168.

 F.      The Derailment Response

         72.     On February 3, 2023, at 8:56 p.m. local time, minutes after the critical alarm

 sounded in the engineer cabin, the train crew on Train 32N contacted local dispatchers and

 the Norfolk Southern Wayside Help Desk regarding an emergency and possible derailment.

         73.     Local first responders arrived on scene by 9:00 p.m. local time and began

 responding to small spreading pool fires. Within the hour, East Palestine dispatch requested

 hazardous material (“hazmat”) support, additional responders, and emergency responders

 from Columbiana County, Ohio, and Beaver County, Pennsylvania.

         74.     By midnight, a Unified Command team was formed comprised of local first

 responders and personnel from the Ohio Environmental Protection Agency, Pennsylvania

 Department of Environmental Protection, Norfolk Southern Hazmat Team, Pennsylvania

 State Police, Beaver County Hazmat Response Team, U.S. Environmental Protection

 Agency, Ohio Emergency Management Agency, and Ohio and Pennsylvania state officials.




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          75.    In the initial hours after the derailment, local firefighters responded to small

 spreading fires and the Unified Command team monitored the derailed tank cars. Over time,

 the fires grew into hot, active fires that surrounded the derailed railcars.

          76.    Shortly after midnight, on February 4, 2023, the PRDs on the vinyl chloride

 tank cars began activating and releasing pressure in a cycle of thirty seconds on (releasing)

 and two minutes off.

          77.    Because of the surrounding pool fires, the flammable gas venting from the

 PRDs ignited, which upon information and belief began to melt part or all of the tank car

 liquid transfer valves and fittings.

          78.    Midland Manufacturing Corporation, which manufactured the PRDs, only

 tests PRDs with air. They are not tested to ensure their ability to withstand flame, heat, or

 corrosion from materials that can be expelled when the PRD activates.

          79.    The PRDs continued to vent through the early morning hours of February 4,

 2023, cycling between venting and pausing for approximately twelve hours.

          80.    As the PRDs continued to vent, on-site responders, which included hazmat

 and tank derailment specialists, began assessing the damage to the tank cars to plan for next

 steps.

          81.    Following a tank car derailment and fire, responders typically have four

 options: First, responders can re-rail the tank car and move it to the next destination if they

 determine there is no tank damage. Second, if the tank car is damaged and cannot be safely

 re-railed and moved, responders can transfer the product from the tank car using the transfer

 valves. This method requires working valves and access to the cars for a prolonged period of

 time. Third, responders can transfer the product via “hot tapping,” a procedure that involves

 welding a transfer valve onto the tank, drilling a hole in the tank, and transferring the

 remaining liquid product through the hole. This third option carries significant risks, because




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 the welder might accidentally weld and drill into a gaseous space, rather than into the liquid;

 this can ignite the tank car and cause a BLEVE. Further, if the tank car’s structural integrity

 is compromised, welding can cause cracking in the still-pressurized tank car, which can also

 cause a BLEVE. Hot tapping also requires prolonged exposure to a tank car that may be

 experiencing increased pressurization and BLEVE conditions. The fourth option, and the last

 resort, is to conduct a controlled “vent and burn.” During a vent and burn, responders place a

 series of explosive charges on the tank cars, which detonate and puncture holes at the top and

 bottom of the car to burn off pressurized gas (from the top) and expel liquid (from the

 bottom) in a controlled manner. Although a last resort option, a vent and burn is the safest

 option when the other strategies are infeasible or carry too high a risk of loss of life.

        82.     After venting vinyl chloride for approximately twelve hours, the PRDs

 stopped venting in the early afternoon of Saturday, February 4, 2023. By that same afternoon,

 the pool fires at the derailment site began to die down.

        83.     At that point, responders sent in two “assess and entry” teams to the east and

 west ends of the derailment site to monitor the potential pressure conditions of the vinyl

 chloride tank cars. Because of the damage to the tank cars, responders concluded they were

 not able to re-rail the tank cars. They further determined that product transfer was not viable

 because the seals and gaskets within the transfer valves were damaged by heat. Therefore,

 responders began assessing the cars to implement a hot-tap option.

        84.     As responders were monitoring that afternoon, the PRD on Car 28 activated

 again and began to continuously vent gas for approximately 70 minutes. The pressure relief

 was described by a hazmat specialist as akin to a violent and sudden roar of fury following

 two hours of calm. It scared responders with decades of experience handling hazmat

 derailment responses. Specifically, responders were concerned that pressure and heat were

 building inside the Car 28 tank, even though the pool fire under Car 28 and surrounding pool




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 fires had extinguished hours ago, indicating that the rising heat was from an internal process

 and not the external fires.

        85.     The next day, on February 5, 2023, responders went into the derailment zone

 to assess the vinyl chloride tank cars, where they found that the tank shell on Car 53 was

 exposed due to jacket damage. They were able to get alongside the tank car, but did not hear

 any audible hiss from the protective housing, liquid lines, vapor lines, or PRD, and reported a

 negative reading on their meter testing for volatile organic compounds. This indicated to

 responders that the tank car was not leaking or releasing any gas.

        86.     Responders also touched the tank shell inside the jacket of Car 53 and found

 that the tank was hot, even though surrounding pool fires had died down hours before. Using

 a thermal imaging camera, responders recorded a temperature of 135°F through a small

 opening in the jacket, followed by a temperature of 138°F one hour later. Again, responders

 became concerned that the tank temperature and pressure were rising without external

 stimulus.

        87.     Responders attempted to record the temperatures on the other vinyl chloride

 tank cars. Where possible, assess and entry teams were able to record temperatures of around

 65°F. However, because responders were only able to obtain temperature readings with the

 thermal imaging cameras through small holes in the jacket without verifying the readings

 were measuring the temperature of the tank itself—as opposed to the outer jacket—

 responders discounted the accuracy of these temperature readings.

        88.     The elevated temperature on Car 53 and sudden extended venting from Car 28

 without a pool fire underneath it caused responders to become concerned about the potential

 for a catastrophic explosion.

        89.     According to chemical industry groups, the temperature of a tank of vinyl

 chloride measuring “above ambient temperature may imply that the [vinyl chloride] is




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 polymerizing inside the tank car.” The Chlorine Institute & The Vinyl Institute, Pamphlet

 171, Vinyl Chloride Monomer (VCM) Tank Car & Cargo Tank Handling Manual, at 36.

 Furthermore, vinyl chloride polymerization is a form of living polymerization and is an

 exothermic (heat-releasing) process. The rate of polymerization can accelerate thereby

 generating more heat in a closed-loop system that cycles and can become uncontrollable.

 Indeed, a key component of controlled vinyl chloride polymerization in the production of

 PVC is the removal of heat through effective thermal management of the process.

        90.     The pause in the PRD venting and the inspection of Car 53 indicated to

 Unified Command that polymerization may have blocked the PRDs on Car 28 and the other

 vinyl chloride tank cars. Based on guidance from Oxy Vinyls, responders understood that a

 tank car temperature of 185°F could lead to runaway polymerization and explosion.

        91.     Due to the re-activation of the PRD on Car 28 and the unknown liquid levels

 in the remaining tank cars, hot tapping the cars was considered too high a risk to the welders,

 who could inadvertently ignite the tank car if they struck gas, would be unable to transfer the

 product if the tank contained polymer, and could risk reigniting the pool fires throughout the

 derailment site.

        92.     Responders spoke to the on-site representative of Oxy Vinyls—the vinyl

 chloride manufacturer—who commented that the rising temperature could indicate that

 polymerization was occurring. Responders also spoke with a support team operating out of

 the Oxy Vinyls corporate office in Dallas, Texas, which explained its belief that there was a

 low probability of polymerization and that the PRD was likely responding to other conditions

 or had a mechanical malfunction.

        93.     On a subsequent call, an Oxy Vinyls senior vice president of manufacturing

 who was not on the scene stated that polymerization was not occurring. The Dallas team also

 concluded that at least three of the vinyl chloride tank cars were nearly empty. This




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 determination was made based in part on temperature readings that responders considered

 inaccurate.

        94.     Responders attempted to collect further tank car measurements. While they

 continued collecting potential readings through the small holes in the jackets, responders

 were unable to collect internal tank pressure measurements due to the compromised valve

 assemblies and risk of placing personnel alongside dangerously unstable tank cars.

        95.     On the evening of February 5, 2023, responders reported to Unified Command

 that the temperature trends and dangerous conditions for hot tapping led hazmat specialists to

 believe that a vent and burn would be the safest option. Responders were also concerned

 about polymerization, although polymerization was not the only reason that a vent and burn

 was considered the safest option.

        96.     On the morning of February 6, 2023, Unified Command met to discuss

 strategies to relieve the pressure in the five vinyl chloride tanks and avoid a catastrophic

 uncontrolled explosion. By approximately noon, Unified Command agreed that a vent and

 burn of all five vinyl chloride tank cars—Cars 26, 27, 28, 29, and 53—should occur. As

 noted, Unified Command included the U.S. Environmental Protection Agency, National

 Guard, Ohio state agencies, Pennsylvania state agencies, and local first responders.

        97.     At approximately 4:37 p.m. local time on February 6, 2023, Unified

 Command provided by radio the official green light to execute the vent and burn, and the

 response team detonated controlled explosives on the five vinyl chloride tank cars—Cars 26,

 27, 28, 29, and 53.

        98.     The released vinyl chloride burned through the night of February 6, 2023.

        99.     During the vent and burn, video footage reportedly identified pure polymer,

 indicating a polymerization reaction, releasing from two of the vinyl chloride tank cars.




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        100.    Additionally, the PRDs on Car 28—on which the PRD re-activated—and Car

 53—which had a recorded temperature of 138°F—were found to be corroded. According to

 the PRD manufacturer, Midland Manufacturing Corporation, these PRDs are not tested for

 fire conditions.

        101.    The vent and burn was executed effectively and resulted in no casualties.

 G.     Railroad Regulation and Industry Standards

        102.    The railroad industry is regulated through a combination of federal laws,

 regulations, and industry standards set by the Association of American Railroads (“AAR”).

 Norfolk Southern, as a Class I freight railroad, is a member of the AAR.

        103.    Rail transportation of hazardous materials is regulated under Title 49, subtitle

 B, chapter 1, subpart C. These regulations divide obligations for hazardous materials

 transportation among shippers, railroads, and car owners. See, e.g., 49 C.F.R. §§ 173

 (detailing shipper responsibilities), 174 (detailing railroad responsibilities), 180 (detailing car

 owner responsibilities).

        104.    Alongside federal regulations, the AAR publishes rules and standards for the

 design, operation, maintenance, inspection, and repair of railcars and their components.

 Among these are the Manual of Standards and Recommended Practices (“MSRP”) and the

 Interchange Rules. These rules set the standards for the movement of railcars and the safety

 and interoperability of railcar equipment. All freight railroads, interchange freight car owners,

 and repair agents must subscribe to the Interchange Rules.

        105.    The Interchange Rules also divide and assign responsibilities for maintenance

 and inspection in rail transportation between car owners, railroads, and other entities. For

 example, the Interchange Rules establish that car owners are responsible for and chargeable

 for repairs to their railcars necessitated by wear and tear.




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 H.      Car 23 Was Improperly Maintained

         106.   Car 23, which derailed first, was a hopper car owned by General American

 Marks Company.

         107.   The bearing on Car 23 was manufactured by the Timken Company. Timken’s

 Bearing Install Manual states that “[c]ars, coaches, and locomotives equipped with roller

 bearings that remain stationary should be moved one car length every six months to distribute

 lubricant over the bearing surfaces.” Timken, Installing and Maintaining Timken AP and AP-

 2 Bearings, Diesel Locomotive, Passenger and Freight Car Applications, 25 (2015).

         108.   Industry practice is to prevent railcars from sitting stationary for long periods

 because grease separation may occur, which reduces the amount of lubrication around the

 bearings and may impact functionality.

         109.   Car 23 operated out of the Gulf States, with shipments from New Orleans and

 other locations along the Gulf Coast.

         110.   According to car movement data, Car 23 had few shipments and low mileage

 over the prior decade.

         111.   Upon information and belief, Car 23 was twice stationary for longer than six

 months: first for 565 days ending in August 2018 and again for 206 days ending in May

 2019.

         112.   When a bearing sits for extended periods of time, especially in heat, rain, or

 extreme weather, the grease in the bearing can separate and degrade the bearing. Water

 damage—such as that caused by sitting in heavy rain, hurricanes, or flooding—can cause

 friction and quickly degrade the bearing.

         113.   Under the AAR Interchange Rules, car owners must inspect and, if necessary,

 repair or replace railcars or components at any time after the car is partially or fully

 submerged in water.




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        114.    Due to the construction of the bearings and where they are installed inside the

 wheelset, the full condition of the bearings cannot be inspected by the railroad without

 disassembling the bearings from the wheelset.

 I.     Third-Party Defendant Railcar Owners Are Responsible for the Compliance and
        Maintenance of Railcars Carrying Chemicals

        115.    Railcar owners direct the workings of, manage, and conduct the affairs of

 rolling stock, including tank cars carrying hazardous materials.

        116.    Railcar owners are responsible for a variety of compliance and maintenance

 measures for tank cars that carry hazardous materials. For example, railcar owners are

 responsible for the certification, qualification, compliance, and maintenance of railcars and

 components, such as the thermal protection system, PRDs, and valves. See, e.g., 49 C.F.R.

 §§ 180.501 (general applicability), 180.507 (qualification requirements), 180.509 (inspection

 requirements), 180.517 (reporting requirements).

        117.    Under the AAR Interchange Rules, railcar manufacturers must have the

 construction and design of railcars used for hazardous materials transportation approved. The

 valves, fittings, PRDs, and other car components must also receive standalone approval.

        118.    This industry rule is incorporated by 49 C.F.R. § 179.3, pursuant to which the

 United States Department of Transportation assigns to AAR the authority to approve design,

 materials, construction, conversion, and modification of tank cars in accordance with the

 AAR MSRP Specification for Tank Cars and the federal regulatory specifications.

        119.    Any changes to the tank car design or components must also be approved. See

 49 C.F.R. § 179.6. This additional certification is required to ensure that changes to tank cars

 do not render them unsafe for transportation of hazardous materials.

        120.    Here, there were multiple discrepancies, identified by the Federal Railroad

 Administration, between the approved documents and the actual physical characteristics of

 the vinyl chloride tank cars on Train 32N.



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                 a.      Trinity Industries Leasing Company’s Car 26 has discrepancies

                         between its AAR 4-2 certificate of construction and the tank car’s

                         actual characteristics.

                 b.      For GATX Corporation’s Car 29, the tank car valve was replaced with

                         a Midland 720 valve without approval. Additionally, this Car’s PRD,

                         which had a 225 psi start, was replaced without approval with a PRD

                         with a 247.5 psi start. Finally, according to the Federal Railroad

                         Administration, Car 29 was never approved for vinyl chloride service,

                         which has a special regulatory provision.

                 c.      All three vinyl chloride tank cars owned by Oxy Vinyls—Cars 27, 28,

                         and 53—have missing or incorrect information on their AAR Form 4-

                         2. For example, Car 27 has modifications that were not properly

                         documented or approved, including changes to two component parts

                         that modified the material from carbon steel to stainless steel.

         121.    Following the approved construction of a tank car, the builder must furnish a

 Certificate of Construction to the tank car owner certifying that the tank, equipment, and car

 fully conform to the regulations. See 49 C.F.R. § 179.5(a).

         122.    The owners of tank cars carrying hazardous materials are required to continue

 this certification process. Tank cars marketed as a “DOT” specification—like the DOT-111

 or DOT-105—must meet all regulatory requirements for tank car specifications, and each

 owner “must retain the certificate of construction (AAR Form 4-2) and related papers

 certifying that the manufacture of the specification tank car identified in the documents is in

 accordance with the applicable specification.” 49 C.F.R. §§ 180.507, 180.517.

         123.    Additionally, DOT specification tank car owners are responsible for the

 inspection, testing, and requalification of the tank car’s structural integrity, thickness, internal




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 coating or lining, leakage under pressure, and service equipment like PRDs, at set temporal

 intervals. See 49 C.F.R. § 180.509 et seq.

        124.    These areas of responsibility—the certification, qualification, compliance, and

 maintenance—all dictate tank car operations related to the transport of hazardous materials

 and are the sole domain of car owners.

        125.    Railroads have discrete inspection duties and rely on the work of tank car

 owners to ensure that compliant tank cars are used for safe transport. For example, the

 railroads are required by federal regulation to inspect each railcar “visually” and “at ground

 level,” but do not climb up on tank cars to inspect PRDs. 49 C.F.R. §§ 174.9(a), 174.9(b).

 While railroads are required to receive shippers’ certifications and shipping papers for

 hazardous materials shipment, railroads are not responsible for the certified design, building,

 conversion, testing, modification, and requalification of tank cars.

        126.    It is this certified design, building, conversion, testing, modification, and

 requalification of hazardous materials tank cars that ensures that tank cars containing

 flammable chemicals can be safely transported.

 J.     Third-Party Defendant Shipper is Responsible for the Compliance and
        Maintenance of Railcars

        127.    Chemical shippers also direct the workings of, manage, and conduct the affairs

 of rolling stock, including tank cars carrying chemicals.

        128.    Chemical shippers control tank cars carrying chemicals by exercising control

 over the cars’ environmental compliance in a manner that directly prevents—or permits—a

 release of hazardous substances.

        129.    Shippers are responsible for a variety of compliance and maintenance

 measures for hazardous tank cars. See generally 49 C.F.R. § 173.1 et seq.




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        130.    For example, shippers are responsible for the proper loading and labeling of

 the tank car, which includes federal certification of the proper packaging of the commodity

 and placement of tank car placards. See 49 C.F.R. §§ 173.31, 172.508.

        131.    For vinyl chloride, shippers must ensure it is properly mixed with inhibitors or

 otherwise stabilized to prevent negative effects like violent polymerization. Shippers use a

 chemical inhibitor to prevent polymerization and/or purge the tank of oxygen with nitrogen

 prior to filling the tank so oxygen levels are below 200 parts per million.

        132.    Oxy Vinyls has stated that it used oxygen purging to stabilize the vinyl

 chloride for shipment.

        133.    As discussed, by federal regulation, chemical manufacturers and importers

 must also develop an SDS for each hazardous chemical they produce or import that identifies,

 among other items, accidental release measures, stability and reactivity, and fire-fighting

 measures. See 29 C.F.R. § 1910.1200(g).

        134.    The vinyl chloride SDS prepared by Oxy Vinyls and provided to Norfolk

 Southern warned of the risks of polymerization, noting in twelve instances some variation of

 the warning that vinyl chloride “MAY EXPLODE IF HEATED. POLYMERIZATION CAN

 OCCUR” if the vinyl chloride is exposed to “air, sunlight, excessive heat” and/or “Catalytic

 metals, such as copper, aluminum, and their alloys.” Oxy Vinyls, Vinyl Chloride (Monomer)

 Safety Data Sheet at 2, 10.

        135.    Upon information and belief, in the aftermath of the derailment and vent and

 burn, aluminum and copper were found in the vinyl chloride tank cars:

                a.        Car 26 had aluminum found in samples of the interior surface of the

                          manway nozzle and aluminum coating on the PRD springs.

                b.        Car 27, which had been fitted with a protective housing cover made of

                          aluminum that was missing or destroyed, had aluminum in the exterior




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                        surface of the PRD spring in the top guide discharge port of the PRD.

                        Additionally, Car 27 had an aluminum angle valve handwheel, and

                        melted aluminum was found around the base of one of the liquid

                        discharge valves.

                c.      Car 28 had aluminum angle valve handwheels and had been fitted with

                        a protective housing cover made of aluminum that was missing or

                        destroyed. Further, aluminum was found in a sample taken from the

                        interior surface of the manway nozzle, top fitting of the protective

                        housing, and around the base of both liquid valves.

                d.      Car 29, which had been fitted with a protective housing cover made of

                        aluminum that was missing or destroyed, had aluminum found in

                        exterior debris of the protective housing and housing cover on the tank

                        car, as well as a residue sample containing copper inside the tank next

                        to a vent and burn breaching hole. Further, Car 29’s angle valves were

                        covered in solidified melted aluminum after the derailment, and its

                        angle valve handwheels were missing.

                e.      Car 53 had angle valve handwheels constructed from aluminum.

        136.    By federal regulation, chemical shippers like Oxy Vinyls are also responsible

 for their chemicals’ shipping certification. Shippers may not offer a hazardous material for

 transportation without a determination “that the tank car is in proper condition and safe for

 transportation,” which requires at minimum a visual inspection of the tank, thermal protection

 system, valves, and PRDs. 49 C.F.R. § 173.31(d).

        137.    Shippers cannot offer a hazardous material for transportation in a tank car

 unless that tank car meets the applicable specification and packaging requirements, including

 the approved certificate of construction. 49 C.F.R. § 173.31(a). Shippers must ensure that




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 hazardous materials are in containers that have been manufactured, assembled, and marked in

 accordance with various regulations, including AAR tank construction requirements under 49

 C.F.R. part 179, 49 C.F.R. § 173.22.

        138.       As described above, Oxy Vinyls offered the five vinyl chloride tank cars for

 shipment without complete approvals and certifications.

        139.       Ultimately, it is the shipper that is responsible for ensuring that the equipment

 used is compatible with the lading and can safely contain the commodity.

        140.       While railroads like Norfolk Southern must also inspect the tank cars from the

 ground, ensure proper shipping papers, and perform other duties related to rail movement,

 railroads rely on the accurate federal approvals and certifications of shippers that the

 equipment and lading are compatible.

        141.       When an incident occurs, as it did on February 3, 2023, railroads like Norfolk

 Southern rely on the accurate representations of shippers during the response.

 K.     Norfolk Southern Has Incurred Response Costs Before and Pursuant to an EPA
        Unilateral Administrative Order

        142.       Following the derailment, the U.S. Environmental Protection Agency (“EPA”)

 mobilized to the derailment site in East Palestine, Ohio, along with various federal, state, and

 local agencies.

        143.       On February 21, 2023, EPA determined that the derailment site posed an

 imminent and substantial threat to human health and the environment and issued a Unilateral

 Administrative Order to Norfolk Southern under Section 106(a) of CERCLA, 42 U.S.C.

 § 9606(a).

        144.       EPA’s Unilateral Administrative Order required Norfolk Southern to

 implement specific response activities, and incur all associated costs, related to air monitoring

 and sampling, the identification and delineation of contamination, the containment and

 remediation of contaminated areas, the removal and disposal of hazardous substances, and



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 additional actions needed to prevent imminent and substantial endangerment to public health

 or the environment.

         145.    Norfolk Southern has incurred and will incur substantial response costs related

 to the release of substances resulting from the derailment, pool fires, vent and burn, and

 firefighting efforts.

         146.    In addition, by separate actions in the Northern District of Ohio (Nos. 23-CV-

 517, 23-CV-675) (Adams, J.), the United States and State of Ohio have brought claims under

 federal and state law seeking reimbursement of their response costs.

         147.    Norfolk Southern has paid millions of dollars and will continue to pay for the

 comprehensive environmental response in East Palestine. Norfolk Southern is committed to

 making it right in East Palestine and the surrounding communities. It brings this action to

 ensure that all necessary parties are involved.

                                    CLAIMS FOR RELIEF

                                          COUNT ONE

                                     Negligence
        (Oxy Vinyls, GATX Corporation, and Trinity Industries Leasing Company)

         148.    The allegations in paragraphs 1 through 147 above are incorporated by

 reference.

         149.    In owning and maintaining rolling stock transported by Norfolk Southern, Oxy

 Vinyls, GATX Corporation, and Trinity Industries Leasing Company were obligated to

 exercise care for the safety of individuals and entities whose persons or property were within

 reasonable proximity to the rail line, Norfolk Southern’s employees and its property, and the

 environment.

         150.    In ensuring the certified design, building, conversion, testing, modification,

 and requalification of hazardous materials tank cars that ensures that tank cars containing

 chemicals can be safely transported, Oxy Vinyls, GATX Corporation, and Trinity Industries



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 Leasing Company were obligated to exercise reasonable and ordinary care, and/or that degree

 of care that a similarly situated railcar owner would use under the same or similar

 circumstances.

        151.      Oxy Vinyls, GATX Corporation, and Trinity Industries Leasing Company

 failed to exercise ordinary care by failing to properly certify the design, building, conversion,

 testing, modification, and requalification of hazardous materials tank cars and their

 components. By federal regulation, car owners must receive approval for the car construction

 and any design or component change. 49 C.F.R. §§ 179.3, 179.6. Car owners must

 continually certify this approval. 49 C.F.R. §§ 180.507, 180.517.

        152.      Each car carrying vinyl chloride had discrepancies between its federal certified

 and approved certificate of construction and the tank car’s actual characteristics:

                  a.     Trinity Industries Leasing Company’s Car 26 has discrepancies

                         between its AAR 4-2 certificate of construction and the tank car’s

                         actual characteristics.

                  b.     For GATX Corporation’s Car 29, the tank car valve was replaced with

                         a Midland 720 valve without approval. Additionally, this Car’s PRD

                         was replaced from a PRD with a 125 psi start to a PRD with a 247.5

                         psi start without approval. Finally, Car 29 was never approved for

                         vinyl chloride service, which has a special regulatory provision.

                  c.     All three vinyl chloride tank cars owned by Oxy Vinyls—Cars 27, 28,

                         and 53—have missing or incorrect information on their AAR form 4-2.

                         For example, Car 27 has modifications that were not properly

                         documented or approved, including changes to two component parts

                         that modified the material from stainless steel to carbon steel.




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        153.    The damage and release of hazardous materials from Cars 26, 27, 28, 29, and

 53 were, in part, the result of Third-Party Defendants’ failure to follow federal regulations

 and industry rules on the design, build, testing, modification, and qualification of hazardous

 materials tank cars and their components.

        154.    As a direct and proximate result of Third-Party Defendants’ negligence,

 Norfolk Southern has been damaged by incurring costs, expenses, and damages identified

 herein and to be proved at trial.

                                         COUNT TWO

                                           Negligence
                                          (Oxy Vinyls)

        155.    The allegations in paragraphs 1 through 147 above are incorporated by

 reference.

        156.    In undertaking to ship vinyl chloride by rail, Oxy Vinyls was obligated to

 exercise care for the safety of Norfolk Southern’s employees, its property, those individuals

 and entities whose persons or property were within reasonable proximity to the rail lines, and

 the environment.

        157.    By shipping vinyl chloride, Oxy Vinyls was obligated to exercise reasonable

 and ordinary care, and/or that degree of care that a similarly chemical shipper would use

 under the same or similar circumstances.

        158.    As a shipper, Oxy Vinyls was required to ensure that the equipment used in

 shipping was compatible with the lading and could contain vinyl chloride.

        159.    By regulation, Oxy Vinyls was required to certify that the tank cars met the

 applicable specification and packaging requirements, including the approved certificate of

 construction, and certify that the tank cars were manufactured, assembled, and marked in

 accordance with AAR tank construction requirements. 49 C.F.R. §§ 173.22, 173.31(a).




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           160.   Consistent with these requirements, Oxy Vinyls certified that its tank cars and

 components were suitable for vinyl chloride transportation.

           161.   However, the Federal Railroad Administration found that all five tank cars

 used to ship vinyl chloride had discrepancies between the AAR 4-2 certificate of construction

 and the cars’ actual characteristics, including non-approved changes to the PRDs, valves, and

 component parts, and raised questions over whether a tank car was even approved for vinyl

 chloride transportation.

           162.   As described above, Oxy Vinyls failed to exercise ordinary care by failing to

 properly certify the design, build, testing, modification, and qualification of hazardous

 materials tank cars and their components used for vinyl chloride transportation.

           163.   Oxy Vinyls was also required to prepare and submit an SDS for vinyl chloride.

 29 C.F.R. § 1920.1200(g).

           164.   The SDS was required to “accurately reflect[] the scientific evidence used in

 making the hazard classification,” with continual, ongoing updates. Id. §§ 1920.1200(g)(5),

 1920.1200(g)(6).

           165.   Oxy Vinyls submitted an SDS to Norfolk Southern explicitly stating that

 “Exposure to the following conditions or mixtures with the following elements and materials

 can cause explosive or violent polymerization of VCM: Air, Sunlight, Excessive heat,

 Oxidizers, Catalytic metals, such as copper, aluminum and their alloys and certain catalytic

 impurities.” Oxy Vinyls, Vinyl Chloride (Monomer) Safety Data Sheet, at 10 (emphasis

 added).

           166.   The SDS Oxy Vinyls submitted to Norfolk Southern also warned repeatedly—

 twelve times in various combinations—that vinyl chloride “MAY EXPLODE IF HEATED”

 and that POLYMERIZATION CAN OCCUR.” Id. at 2.




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        167.    Oxy Vinyls shipped vinyl chloride in tank cars with aluminum components in

 the pressure release devices and in other components on each of the vinyl chloride tank cars.

 For example, Cars 26, 27, 28, and 29 contained aluminum in the PRD springs, PRD surface,

 or had aluminum used in various valves on the tank car. When the PRDs activated—releasing

 flammable vinyl chloride that ignited—the vinyl chloride mixed with “air, sunlight” and

 “aluminum.”

        168.    At the scene of the derailment, Oxy Vinyls representatives made conflicting

 statements regarding the ability of vinyl chloride to polymerize, asking first responders to

 ignore the all-caps text in its own SDS. At various times during the derailment response, Oxy

 Vinyls representatives provided inconsistent warnings that polymerization was possible, was

 not occurring, and could not occur, each with varying degrees of certainty.

        169.    Finally, Oxy Vinyls representatives have stated that polymerization was not

 possible under the derailment conditions and that “stabilized” vinyl chloride—the same vinyl

 chloride that had been exposed to extreme conditions for nearly two full days—is incapable

 of polymerizing under “normal” conditions.

        170.    Oxy Vinyls ignored its own federally required SDS on the safe handling of

 vinyl chloride and improperly certified the shipping of its vinyl chloride in conditions

 contrasting with its own guidance.

        171.    Further, Oxy Vinyls then ignored its own federally required warnings on the

 safe handling of vinyl chloride and provided ineffectual and negligent warnings to Norfolk

 Southern and first responders.

        172.    The vent and burn and release of hazardous vinyl chloride was the direct result

 of the improper shipping containers and Oxy Vinyls’ failure to follow federal regulations and

 its own SDS.




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         173.       In the alternative, if aluminum components can be safely used with vinyl

 chloride, then Oxy Vinyls’ SDS did not “accurately reflect the scientific evidence,” and Oxy

 Vinyls failed to furnish a correct document for hazard communications.

         174.       Similarly, if vinyl chloride is not capable of polymerization in circumstances

 like those present in East Palestine, then Oxy Vinyls’ SDS did not “accurately reflect the

 scientific evidence,” and Oxy Vinyls furnished a negligently prepared SDS.

         175.       Oxy Vinyls violated federal regulations and its duties by failing to ensure that

 its shipping equipment was compatible with its lading.

         176.       In addition, and/or in the alternative, as Oxy Vinyls now claims, it violated

 federal regulations by providing a negligently prepared SDS.

         177.       As a direct and proximate result of Oxy Vinyls’ negligence, Norfolk Southern

 has been damaged by incurring costs, expenses, and damages identified herein and to be

 proved at trial.

                                           COUNT THREE

                                      Negligence
                (General American Marks Company and GATX Corporation)

         178.       The allegations in paragraphs 1 through 147 above are incorporated by

 reference.

         179.       As the railcar owner responsible for the maintenance of Car 23, General

 American Marks Company, a subsidiary of GATX Corporation, was responsible for ensuring

 that Car 23 moved at least one car length every six months, yet, upon information and belief,

 Car 23 was twice stationary for longer than six months.

         180.       In owning and maintaining rolling stock ultimately transported by Norfolk

 Southern, General American Marks Company was obligated to exercise care for the safety of

 Norfolk Southern’s employees, its property, those individuals and entities whose persons or

 property were within reasonable proximity to the rail lines, and the environment.



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        181.    In ensuring the certification, qualification, compliance, and maintenance of

 railcars and their components, General American Marks Company was obligated to exercise

 reasonable and ordinary care, and/or that degree of care that a similarly situated railcar owner

 would use under the same or similar circumstances.

        182.    Upon information and belief, General American Marks Company failed to

 exercise ordinary care by, among other things, failing to properly maintain Car 23’s bearings

 by leaving the car stationary for periods in excess of six months; failing to inspect the car’s

 bearings after the car remained stationary for periods in excess of six months; failing to

 advise carriers including Norfolk Southern that the car was not inspected after remaining

 stationary for periods in excess of six months; and allowing and placing Car 23 into rail

 service without inspecting its bearings after remaining stationary for periods in excess of six

 months.

        183.    Upon information and belief, leaving Car 23 stationary in excess of six months

 damaged the lubrication of the bearing, leading to the degradation of the bearing and the

 ultimate failure of the bearing. Car 23 and several other railcars in Train 32N subsequently

 derailed.

        184.    Upon information and belief, the bearing failure on Car 23 was caused by the

 negative impacts on the bearing and/or its functionality stemming from General American

 Marks Company’s failure to properly maintain its railcar.

        185.    Upon information and belief, GATX Corporation exercises substantial direct

 control over the operations of its subsidiary General American Marks Company, including

 with respect to railcar maintenance.

        186.    As a direct and proximate result of General American Marks Company and

 GATX Corporation’s negligence, Norfolk Southern has been damaged by incurring costs,

 expenses, and damages identified herein and to be proved at trial.




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                                         COUNT FOUR

                       Ohio Joint & Several Liability and Contribution
                                (All Third-Party Defendants)

        187.    The allegations in paragraphs 1 through 147 above are incorporated by

 reference.

        188.    If Plaintiffs establish that Norfolk Southern is responsible for damages, then

 such damages were contributed to by Third-Party Defendant Oxy Vinyls because of Oxy

 Vinyls’ failure to exercise ordinary care by failing to properly certify the design, building,

 conversion, testing, modification, and requalification of hazardous materials tank cars and

 their components; failing to properly certify that the railcar used was compatible with the

 lading; failing to submit a scientifically accurate SDS; and/or failing to properly warn

 Norfolk Southern of the dangers of an uncontrolled vinyl chloride fire.

        189.    If Plaintiffs establish that Norfolk Southern is responsible for damages, then

 such damages were contributed to by Third-Party Defendants General American Marks

 Company and GATX Corporation because of General American Marks Company’s failure to

 properly maintain Car 23’s bearings by leaving the car stationary for periods in excess of six

 months.

        190.    If Plaintiffs establish that Norfolk Southern is responsible for damages, then

 such damages were contributed to by Third-Party Defendant Trinity Industries Leasing

 Company because of Trinity Industries Leasing Company’s failure to property certify the

 design, building, conversion, testing, modification, and requalification of hazardous material

 tank cars and their components.

        191.    Under Ohio statute O.R.C. § 2307.22, Third-Party Defendants Oxy Vinyls,

 General American Marks Company, GATX Corporation, and Trinity Industries Leasing

 Company are liable for their share of all compensatory damages that represent economic loss.




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        192.    Under Ohio statute O.R.C. § 2307.25, Third-Party Defendants Oxy Vinyls,

 General American Marks Company, GATX Corporation, and Trinity Industries Leasing

 Company are liable to Norfolk Southern for contribution as to any costs that Norfolk

 Southern has paid and will pay in excess of its proportionate share of costs.

                                   PRAYER FOR RELIEF

        WHEREFORE, Defendants and Third-Party Plaintiffs Norfolk Southern Railway

 Company and Norfolk Southern Corporation respectfully seek the following relief:

        A.      Grant Norfolk Southern damages and interest as allowed by law; and

        B.      Provide such other and further relief as the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

        Norfolk Southern demands a trial by jury of all issues so triable.




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 Dated: July 25, 2023                             Respectfully submitted.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2023, I caused a copy of the foregoing to be filed with

 the Clerk of the Court using the Court’s CM/ECF electronic filing system, which will provide

 electronic notice to all counsel of record.


                                                   /s/ Alan Schoenfeld
                                                   ALAN SCHOENFELD




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